          Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 1 of 22




________________________________________________________________________
                   UNITED STATES DISTRICT COURT
                                 For the
                       Western District of Oklahoma

QUILL INK BOOKS LIMITED, a
foreign corporation,                          )
             Plaintiff                        )
                                              ) Civil Action No. CIV-18-00920-G
                v.                            )
ABCD GRAPHICS AND DESIGN                      )
Blushing Books, et al.                        )
            Defendant                         )


     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR PARTIAL
                      SUMMARY JUDGMENT

Pursuant to LCvR56.1 and Fed. R. Civ. P. 56, Defendant hereby submits the following

response to Plaintiff’s Motion for Partial Summary (“Motion”), (Doc. No. 49). This

Response is supplemented by the attached Affidavits of Anne Wills (“Wills Affidavit”),

Exhibit 1, and Allison Travis (“Travis Affidavit”), Exhibit 2.


                                    INTRODUCTION

1.   In April of 2018, author Addison Cain reported to her publisher, Blushing Books

     (“Defendant”), that Ms. Cain was receiving an alarming number of emails and

     private messages that led her to believe that Zoey Ellis’s title, “Crave to Conquer”

     (Book One in the Myth of Omega Series, published 1/15/18) was based in large part

     on Soto’s title, “Born to be Bound (Book one in the Alpha’s Claim Series, published

     4/8/16).. Ex 2, ¶ 8. Ms. Cain read the books and agreed. Ms. Cain then asked a

     friend to do the same thing, and Ms. Cain’s colleague came up with a chart listing



                                             1
         Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 2 of 22




     between 30 - 40 points of direct similarities between the two books. Defendant’s

     CEO, Anne Wills, conducted a similar review, and generated a third independent

     opinion that the books were substantially similar. Ex 1. ¶ 6.

2.   Upon Ms. Cain’s request that Defendant take action to protect Cain’s intellectual

     property, Defendant filed DMCA take down notices online with Barnes and Noble

     (“B&N”), Apple, and Kobo and Amazon. B&N, Apple, and Kobo took the books

     down pending review. Ex 2, ¶ 9. Amazon did not. Ex 2, ¶ 12. Defendant then filed

     certified a certified letter with Amazon, and may have filed one with Google Play.

     Ex 2, ¶ 10. B&N, Kobo, and Apple reviewed the complaint and made the decision

     that the books were not close enough and put the books back up again. Ex 2, ¶ 17.

     Defendant did not file any additional paperwork, nor did they ever post to a public

     forum about this situation. Plaintiff is the moving party, and they need to prove their

     core allegations - that Defendant did this knowing the claim was false, and to harm

     Plaintiff, and that Plaintiff was harmed by the Defendant’s actions.

3.   In addition, due process requires an opportunity for confrontation and cross-

     examination, and for discovery. The Defense is not in a position to investigate this

     case sufficiently, respond to any pleadings appropriately, or adequately prepare for

     trial due to the egregious discovery omissions of Plaintiff. Efforts to uncover

     something so basic as the actual identify of the injured have been denied by Plaintiff

     without proper explanation. For instance, the named Plaintiff in the case is Quill Ink

     Books Limited. There is minimal mention, however, of this publishing company

     throughout the Complaint. Indeed, the presumed “injured” party is an author


                                             2
         Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 3 of 22




     referred to as “Zoey Ellis.” and in fact Plaintiff has provided no evidence

     whatsoever that Quill Ink published the books or even was in existence at the time

     these books were published. Ex 2, ¶ 15. E-mails exchanged between Apple Ibooks

     and the book’s publisher, provided by Apple books to the Defendant, make mention

     of Quill Books, but inform Defendant to contact a “Zuri Amarcya,” related to this

     matter, whose identity is also unclear. Ex 2, ¶ 16; Ex 1, ¶ 13. Further, the initial

     “Cease and Desist” letter received by Defendant makes no mention of Quill Ink, and

     lists only “Zoey Ellis” as the client.

4.   Moreover, Plaintiff has repeatedly refused to identify who author Zoey Ellis is, and

     informed Defendant that because a corporation is the named Plaintiff, they do not

     need to identify Zoey Ellis or call her as a witness due to F.R.C.P. 30(b)(6). Quill’s

     standing to bring this case is therefore unclear. Further questionable is how the only

     specific witness Plaintiff has endorsed, Dr. Kristina Busse, is also a proposed

     expert, expert and also the individual they have listed as Quill’s corporate

     representative,

5.   This is the climate from which Plaintiff now moves for summary judgment. There

     exist, however, numerous strongly disputed material facts, described in detail

     below. When the smoke and mirrors are lifted from Plaintiff’s Motion and its

     voluminous (largely irrelevant and/or inadmissible) exhibits, what remains is this:

     Plaintiff is not entitled to the relief they seek because they have failed to prove

     either that that they are entitled to summary judgment as a matter of law or that no

     genuine issue of fact exists. Their Motion must be denied.


                                              3
       Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 4 of 22




RESPONSES TO PLAINTIFF’S “STATEMENT OF MATERIAL FACTS AS TO
        WHICH NO SUBSTANTIAL CONTROVERSY EXISTS”

 1. Defendant does not dispute Paragraph 1.

 2. Defendant does not dispute Paragraph 2.

 3. Defendant does not dispute Paragraph 3.

 4. Defendant does not dispute Paragraph 4.

 5. Defendant does not dispute Paragraph 5.

 6. Defendant disputes the factual assertions in Paragraph 6. Under the preliminary

    statement "this action arises from knowingly false and defamatory

    communications intentionally delivered by blushing directly to plaintiffs e-book

    distributor, draft to digital…": Defendant filed no statements ever with

    Draft2Digital. Ex 2, ¶ 11. Any notice Draft2Digital received regarding the

    allegations of imitation came to them by way of a different vendor. As such, the

    jurisdictional deficits in this case are clear. Plaintiff purposefully selected this

    particular forum for reasons wholly unknown to the Defendant.

 7. Defendant disputes Paragraph 7. Blushing Books directed a takedown notice to

    Apple iTunes, Kobo, Amazon, Barnes & Noble, and Google Play. Blushing Books

    never directed a takedown notice to Draft2Digital. Ex 2, ¶ 11.

 8. Defendant disputes the factual assertion in Paragraph 8. The intent of Blushing

    was to prevent the Plaintiff from appropriating the intellectual property of Cain

    and Blushing. The fact that Blushing was willing to take formal action to protect

    its intellectual property is not relevant to any claims made by the Plaintiff in this



                                            4
      Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 5 of 22




   paragraph. As the publisher of the series, Blushing Books felt it was its duty and

   obligation to support and protect its author. However, Cain herself filed one notice

   directly with Amazon. Ex 2, ¶ 14.

9. Defendant disputes the factual assertion in Paragraph 9. At no point did Defendant

   represent that Cain possessed validly registered copyrights on common literary

   tropes, or on her books themselves. Defendant disputes Paragraph 9 to the extent

   that the Plaintiff alleges that Cain did not possess copyrights, as Defendant

   believes a certain level of copyright protection applied at the moment of

   publishing. Ex 1, ¶ 22.

10. Defendant disputes Paragraph 10. It was, in fact, possible for Cain to assert

   ownership over the intellectual property because those works were more than

   simple “Omegaverse tropes,” as cited by the Plaintiff. Cain’s works were distinct

   from general genre themes. Ex 1, ¶ 6. At no point did Defendant represent that

   they knew or believed that Cain had registered copyrights for her titles. Ex 1, ¶ 22.

   Having a registered copyright is not a requirement for filing a DMCA takedown

   notice.

11. Defendant does not dispute Paragraph 11. To reiterate: At no point did Blushing

   Books represent that they knew or believed that Cain had registered copyrights for

   her titles. Ex 1, ¶ 22. Having a registered copyright is not a requirement for filing

   a DMCA takedown notice.

12. Defendant disputes Paragraph 12. Defendant never made continuing efforts to

   disrupt the Plaintiff’s book sales. Defendant made efforts to prevent the Plaintiff’s


                                          5
      Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 6 of 22




   ongoing appropriation of the intellectual property of Ms. Cain and Defendant. Ex

   1, ¶ 19.

13. Defendant does not dispute Paragraph 13, but requests that this information be

   provided appropriately in discovery.

14. Defendant does not dispute Paragraph 14, but requests that this information be

   provided appropriately in discovery. Defendant filed takedown notices regarding

   "Crave to Claim" only after the DMCA filings for Books 1 and 2 had been

   accepted. Ex 1, ¶ 12.

15. Defendant does not dispute Paragraph 15, but requests that this information be

   provided appropriately in discovery.

16. Defendant disputes Paragraph 16. The claims were well founded, and the DMCA

   takedown notices were signed reflecting Defendant’s honest, subjective belief that

   Zoey Ellis’s books inappropriately intruded on Addison Cain’s intellectual

   property. Ex 1, ¶ 7.In addition, Apple iTunes’ decision to remove Plaintiff’s entire

   library of publications is an internal decision made by Apple iTunes and was never

   requested or expected by Defendant. Furthermore, it is critical to note that it is not

   a requirement of the DMCA system that a book be removed during a review

   process and, in fact, Amazon and Google Play never removed the books

   whatsoever.

17. Defendant disputes Paragraph 17. Defendant did not falsely claim that it had

   reviewed Crave to Claim. Defendant knew that the third book was going to be

   published and believed it was going to violate the DCMA in the same manner as


                                          6
      Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 7 of 22




   the first two books. There were no false representations made by Defendant.

   Nowhere or in any venue did Defendant state that the third book of the Myth of

   Omega series had been read or reviewed. The DMCA was filed solely on the basis

   that if Books 1 and 2 of the series were plagiarized, the foundation that Book 3

   was built upon was sufficiently tainted. Ex 1, ¶ 6.

18. Defendant disputes Paragraph 18. Defendant’s intent was not solely to ensure that

   the Plaintiff “did not make any more money off the series.” Defendant’s intent was

   to prevent the Plaintiff from to continuing to unlawfully profit from the theft of

   intellectual property. Defendant’s intent was to prevent further monetary loss as a

   result of the Plaintiff’s unlawful monetary gain from its theft of Cain’s intellectual

   property. Ex. 1, 8.

19. Defendant does not dispute Paragraph 19, but requests that this information be

   provided appropriately in discovery.

20. Defendant disputes Paragraph 20. The Plaintiff’s bare legal conclusion that “it

   showed in the Counter-Notices that Blushing made material, false representations”

   is unsupported by any evidence or undisputed facts. Ex 1, ¶ 7.

21. Defendant disputes Paragraph 21. The Plaintiff’s conclusory statement that

   “Blushing’s “take-down” notices violated the Copyright Act, damaged Plaintiff’s

   reputation and resulted in financial losses, including, but not limited to, prerelease

   and ordinary book sales in the United States and internationally” is unsupported by

   any evidence or undisputed facts.




                                          7
      Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 8 of 22




22. Defendant disputes Paragraph 22. Defendant’s actions were meant to protect the

   intellectual property of Cain and Defendant. Those attempts extended to any

   continued or future theft of intellectual property by the Plaintiff. Defendant

   legitimately believed Plaintiff has demonstrated a pattern of continued theft of

   intellectual property and the only remedy for Defendant to prevent Ellis from

   continued unlawful use of intellectual property was to file formal DMCA notices.

   Ex 1, ¶ 8.

23. Defendant disputes Paragraph 23. The Plaintiff cites to quotes from pleadings in

   an attempt to misrepresent facts to this court. These are negotiations between the

   parties and are not factual assertions of fault or damages. As stated in the

   Plaintiff’s motion these were simply “any conceivable damages.” In an effort to

   assist Plaintiff’s counsel with basic concepts of the English language, that

   statement merely conveys that those would be the extent of possible damages, if

   the Plaintiff’s position were legally sound. It is, however, not legally sound.

24. Defendant disputes Paragraph 24. A literary work does not need to be identical to

   another for it to be in violation of the DCMA. Defendant does not concede that a

   book must be identical to another for it to be properly subject to the DCMA. Ex 1,

   ¶ 7. Plaintiff’s assertion that Courtney Milan is not affiliated with any party is

   false, given that the Plaintiff sought out Ms. Milan to give the opinion to which it

   cites. Defendant also does not agree with Ms. Milan’s analysis or ability to

   conduct such an analysis.




                                          8
 Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 9 of 22




    MEMORANDUM OF ARGUMENTS AND AUTHORITIES

A. SUMMARY JUDGMENT STANDARD OF REVIEW

  1. A motion for summary judgment should only be granted “if the pleadings,

     depositions, answers to interrogatories, and admissions on file, together

     with the affidavits, if any, show that there is no genuine issue as to any

     material fact and that the moving party is entitled to judgment as a matter of

     law.” Kaul v. Stephan, 83 F.3d 1208, 1212 (10th Cir. 1996). While the

     movant bears the burden of showing the absence of a genuine issue of

     material fact, the movant need not negate the non-movant's claim, but need

     only point to an absence of evidence to support the non-movant's claim. Id.

  2. When determining a motion for summary judgement, “inferences to be

     drawn from the underlying facts must be viewed in the light most favorable

     to the party opposing the motion.” Matsushita Elec. Indus. Co. v. Zenith

     Radio Corp., 475 U.S. 574, 587-88 (1986). Summary judgment should not

     be granted “if the dispute about a material fact is ‘genuine,’ that is, if the

     evidence is such that a reasonable jury could return a verdict for the

     nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

     (1986). In this procedural posture, the evidence of the non-movant is to be

     believed, and all justifiable inferences are to be drawn in his favor.

     Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986).




                                     9
     Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 10 of 22




B.    PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT SHOULD BE
     DENIED BECAUSE DEFENDANT DID NOT MAKE MATERIAL
         MISREPRESENTATIONS UNDER 17 U.S.C. § 512(F).

      3. The Plaintiff claims in its motion for summary judgment that it is further

         undisputed that the DMCA “take-down” notices knowingly and materially

         misrepresented the facts therein. There is no support in evidence for this

         claim.

      4. The intentions of the actors involved in this lawsuit cannot be gleaned from

         the pleadings and exhibits alone, as there are some disagreements that

         cannot be resolved without a formal finder of fact. Indeed, the context in

         which these communications were made cannot be explained properly

         without the testimony of Anne Wills and Allison Travis, the two primary

         employees for Defendant. The DMCA permits an individual who believes

         that their work has been infringed on to file a claim and have that claim

         reviewed by an independent third party and have that claim either rejected

         or accepted it. That is how the system worked in this case: Apple, Barnes

         and Noble, and Kobo conducted a review, made their evaluation, and

         determined that the works were not similar enough to require permanent

         removal without a finding from a copyright court case.

      5. Although no court in Oklahoma has ruled on the necessity of registering a

         copyright in order to bring a claim under the DMCA, courts in several other

         jurisdictions have held that a failure to register the copyright does not bar

         DMCA claims. In Medical Broadcasting Co. v. Flaiz, No. Civ.A. 02-28554,


                                        10
Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 11 of 22




    2003 WL 22838094, at *1, *3 (E.D. Pa. Nov. 25, 2003), the court

    considered the defendant’s argument that DMCA claims against him were

    inappropriate because the disputed information did not have a copyright

    registration. In holding that copyright registration is not required to bring a

    claim, the court observed that “[n]othing in [17 U.S.C.] §1202 of the

    DMCA suggests that registration is a precondition to a lawsuit. . . [DMCA

    claims] are simply not copyright infringement claims and are separate and

    distinct from the latter.” Id. at *3. In I.M.S. Inquiry Manag. Systems v.

    Berkshire Inform., 307 F.Supp2d 521, 530-31, n.9 (S.D.N.Y. 2004), the

    court adopted the holding in Medical Broadcasting noting:

       As a preliminary matter, we note that there is no inconsistency in
       addressing plaintiff's DMCA claim on the merits and finding that
       this Court does not possess subject matter jurisdiction over
       plaintiff's copyright infringement action. An owner's copyrighted
       work can be unregistered. Unlike its effect on its infringement
       claim, plaintiff's failure to register its copyrighted work is not a
       bar to a DMCA action.

 6. More recently, the court in Gattoni v. TIBI, LLC., 254 F.Supp.3d 659, 663

    (S.D.N.Y. 2017) also held that a pending application for copyright did not

    bar a DMCA action. As such, if the action had been brought as a traditional

    copyright infringement under the Copyright Act, registration of the

    copyright would be a precondition to filing the claim; however, because

    DMCA actions are not copyright infringement claims, there is no

    registration prerequisite to filing a take-down notice under the DMCA.




                                   11
Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 12 of 22




 7. Indeed, only a subjective belief is required to file a DMCA

    notice. See Rossi v. Motion Picture Ass’n of America Inc., 391 F.3d 1000

    (9th Cir. 2004), cert. denied, 544 U.S. 1018 (2005) (The Ninth Circuit also

    ruled in Rossi that the requirement of section 512(c)(3)(A)(v) that

    notifications include a statement that the complaining party believes, in

    good faith, that the copyrighted material identified is being used in a

    manner that is not authorized by the copyright owner, its agent or the law,

    encompasses a subjective, rather than objective, standard. See generally

    supra § 4.12[9][B]); See, e.g., Dudnikov v. MGA Entm't, Inc., 410 F. Supp.

    2d 1010, 1012 (D. Colo. 2005) ("In Rossi, the Ninth Circuit held that the

    good faith standard under § 512(c) is a subjective rather than objective

    standard based on the fact that a cause of action for improper infringement

    notifications under § 512(f) is expressly limited to those situations where

    the copyright owner's notification is a 'knowing' and 'material'

    misrepresentation. Thus, as long as MGA acted in good faith belief that

    infringement was occurring, there is no cause of action under § 512(f)."

    (citation omitted)); see also Bio-Safe One, Inc. v. Hawks, No. 07-

    6764(DC), 2007 U.S. Dist. LEXIS 88032, at *29-32 (S.D.N.Y. Nov. 29,

    2007) (knowing material misrepresentation requires "intentionally and

    knowingly" misrepresenting infringement).




                                   12
Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 13 of 22




 8. The Plaintiff further claims that there is no dispute that Defendant did not

    have a good-faith basis for believing that the material published by Plaintiff

    was infringing. This claim is based upon the argument that the similarities

    between the works are, broadly, “tropes” that are not subject to copyright.

    This argument is not based in fact, but instead the opinion of the Plaintiff

    and Plaintiff’s purported witnesses.

 9. As stated in Exhibit 1, the similarities she identified in the two works are

    not “tropes.” The themes in Cain’s works are her own unique creations and

    are not so common as to render them tropes or common themes found

    throughout the Omegaverse. Ex 1, ¶ 6-8.

 10. Therefore, Defendant has shown admissible evidence that disputes the

    Plaintiff’s claim that “[a]lmost every referenced similarity between the

    works lists a trope that is common throughout all Omegaverse fiction.” Ex.

    1. And when viewed in the appropriate standard for summary judgment,

    that “inferences to be drawn from the underlying facts must be viewed in

    the light most favorable to the party opposing the motion,” this material

    dispute of fact – whether Cain’s themes are unique to her or just “tropes” –

    must be resolved in favor of the Defendant for purposes of this motion.

 11. Plaintiff further argues that the two works are not identical, and that this has

    some controlling legal effect. It cites no legal authority for this claim. It

    does cite, in support of its argument, analysis from an unendorsed expert

    witness sought by the Plaintiff. This evidence, therefore, would be


                                    13
    Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 14 of 22




        inadmissible and should not be relied upon in support of the

        motion. See Jones v. Wilkinson, 800 F.2d 989, 1002 (10th Cir.1986)

     12. Furthermore, this is simply the opinion of a person and not stipulated fact.

        A jury could disagree with this opinion, if this person were allowed to

        testify, when it evaluated the witness’s bias, motive, and prejudice. A jury

        could also not find the witness credible in light of evidence in Defendant’s

        Exhibit 1, which provides evidence that contradicts the Plaintiff’s evidence

        in support of this argument.

     13. Therefore, the Plaintiff’s argument that summary judgement should be

        granted because the works are not identical should be disregarded because

        “a reasonable jury” could disagree with Ms. Milan’s analysis and find that

        there are identical sections in the works. See Anderson v. Liberty Lobby,

        Inc., 477 U.S. 242, 248 (1986).


C.   PLAINTIFF’S MOTION FOR SUMMARY JUDGEMENT SHOULD BE
DENIED BECAUSE BLUSHING DID NOT INTERFERE WITH PLAINTIFF’S
            EXISTING AND PROSPECTIVE BUSINESS.

     14. The elements of this cause of action are simply lacking. More importantly,

        Defendant maintains that their actions were justified. Ex 2, ¶ 5, 6.

     15. Further complicating matters is the fact that Defendant has never been to

        Oklahoma, does not do business in Oklahoma, and has never, as Plaintiff

        repeatedly claims, reached out to Draft2Digital, an Oklahoma company. It

        is therefore unclear which state law controls this cause of action, as there



                                       14
Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 15 of 22




    are numerous vendors incorporated in different states, none of which is

    Oklahoma.

 16. Assuming for purposes of this motion that Oklahoma law controls: In a tort

    action, Oklahoma follows the most significant relationship approach to

    conflict-of-laws issues. "[T]he rights and liabilities of parties with respect

    to a particular issue in tort shall be determined by the local law of the state

    which, with respect to that issue, has the most significant relationship to the

    occurrence and the parties." Brickner v. Gooden, 1974 OK 91, ¶ 23, 525

    P.2d 632, 637. Following the Restatement (Second) of Conflict of Laws,

    the Supreme Court in Brickner identified the contacts to be considered as

    factors when determining which state's law would apply:

                  1. the place where the injury occurred;
                  2. the place where the conduct causing the injury occurred;
                  3. the domicile, residence, nationality, place of incorporation
                     and place of business of the parties; and
                  4. the place where the relationship, if any, between the
                     parties occurred.

           Id. (citing Restatement (Second) of Conflict of Laws § 145 (1971)).

 17. To prevail on a claim for tortious interference with prospective economic

    advantage, the following must be shown: "the existence of a valid business

    relation or expectancy, knowledge of the relationship or expectancy on the

    part of the interferer, an intentional interference inducing or causing a

    breach or termination of the relationship or expectancy, and resultant

    damage to the party whose relationship has been disrupted." Batton v.



                                   15
     Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 16 of 22




         Mashburn, 107 F. Supp. 3d 1191, 1198, 2015 U.S. Dist. LEXIS 61890

         (W.D. Okla. 2015) (citing Lakeshore Cmty. Hosp., Inc. v. Perry, 212 Mich.

         App. 396, 538 N.W.2d 24, 27 (Mich. Ct. App. 1995); see also Gonzalez v.

         Sessom, 2006 OK CIV APP 61, ¶ 16, 137 P.3d 1245, 1249 (“The essential

         elements of a claim for intentional interference with prospective economic

         advantage are (1) the existence of a valid business relation or expectancy,

         (2) knowledge of the relationship or expectancy on the part of the interferer,

         (3) an intentional interference inducing or causing a breach or termination

         of the relationship or expectancy, and (4) resultant damage to the party

         whose relationship has been disrupted. The interference is intentional if the

         interferer acted with the purpose to interfere with the relationship or

         expectancy.”)

      18. To prevail on a claim for malicious interference with contract and business

         relations, the following must be shown: “proof that defendant interfered

         with plaintiff's business or contractual rights; the interference was not

         justified, privileged, or excusable; and plaintiff was damaged as a result of

         the interference” Wilspec Techs., Inc. v. Dunan Holding Group Co., Ltd.,

         2008 U.S. Dist. LEXIS 47750, *9 (W.D. Okla. 2008) (citing Gabler v.

         Holder & Smith, Inc., 2000 OK CIV APP 107, 11 P.3d 1269, 1278.


D.    PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT SHOULD BE
     DENIED BECAUSE BLUSHING DID NOT CONSPIRE WITH CAIN TO
      ENGAGE IN UNLAWFUL BEHAVIOR TO STIFLE COMPETITION.



                                        16
Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 17 of 22




 19. Defendant’s intentions were to defend Cain's statutory rights under the

    DMCA. There is a profound dispute that there was any unlawful purpose

    behind Defendant’s actions.

 20. The jurisdictional problems outlined in section C, supra, remain. However,

    assuming, arguendo, that Oklahoma law applies, to state a claim for civil

    conspiracy, a plaintiff must plead the following elements: 1) a combination

    of two or more persons; 2) an object to be accomplished; 3) a meeting of

    the minds on the object or course of action; 4) one or more unlawful overt

    acts; and 5) damages as a proximate result thereof. See Gaylord

    Entertainment Co. v. Thompson, 958 P.2d 128, 148 (Okla. 1998); Hitch

    Enterprises, Inc. v. Cimarex Energy Co., 859 F.Supp.2d 1249, 1268 (W.D.

    Okla. 2012).

 21. The Supreme Court of Oklahoma has said that "unlike its criminal

    counterpart, civil conspiracy itself does not create liability." Brock v.

    Thompson, 948 P.2d 279, 294 (Okla. 1997). Rather, "[t]o be liable the

    conspirators must pursue an independently unlawful purpose or use an

    independently unlawful means." Id. There can be no liability for civil

    conspiracy where the act complained of and the means employed are

    lawful. Id. Plaintiff seems to argue that this is a claim for liability, when it

    actually just creates more ability to go after more sources for damages.

    Id. at 294 (emphasis deleted) (footnotes omitted). “In essence, a civil




                                    17
 Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 18 of 22




        conspiracy claim enlarges the pool of potential defendants from whom a

        plaintiff may recover for an underlying tort.” Id. n. 66.

     22. Moreover, "a conspiracy between two or more persons to injure another is

        not enough; an underlying unlawful act is necessary to prevail on a civil

        conspiracy claim." Roberson v. Paine Webber, Inc., 998 P.2d 193, 201

        (Okla. Civ. App. 1999).

     23. The email threads provided in Plaintiff’s exhibits clearly contain Addison

        Cain and Anne Wills listing and discussing the points of similarity in the

        books. There are instances where Ms. Cain and Ms. Wills appear to

        acknowledge that Zoey Ellis’s books are not verbatim replications of Ms.

        Cain’s books. In addition, Defendant Blushing is observed to be suggesting

        that Ms. Cain not take action on the matter. This suggestion does not

        provide evidence of any wrongdoing, is not a statement against interest, and

        is inadmissible. Further, there are innumerable reasons why a business

        person might counsel a colleague not to pursue formal action in a situation.


E.      DEFENDANT’S “EVIDENCE” SUPPORTING ITS CLAIM OF
        UNDISPUTED DAMAGES IS ENTIRELY IRRELEVANT AND
                         INADMISSIBLE

     24. In Paragraph 23 of its motion, the Plaintiff has submitted, without prior

        notice, irrelevant and inadmissible correspondence between Defendant’s

        attorney and Plaintiff’s counsel pertaining directly to settlement

        negotiations. See Doc. No. 32, ¶ 78 (“Based on these metrics, [Blushing]



                                       18
Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 19 of 22




    can state with confidence that the actual LOSS OF SALES’ related

    damages in this case is likely less than $2000.00 and may be less than

    $1000.00.”); see Doc. No. 49 at ¶ 5 (“Defendant, using extremely reliable

    methods of calculating sales of Plaintiff’s works, estimates any conceivable

    damages to Plaintiff to be in the area of $1,000 to $2,000 US dollars.”).

 25. This evidence is completely inadmissible under Fed. R. Evid. 408 and

    should be ignored by this Court for purposes of evaluating summary

    judgment. As that rule states,

       “Evidence of the following is not admissible on behalf of any party,

       when offered to prove liability for, invalidity of, or amount of a claim

       that was disputed as to validity or amount, or to impeach through a

       prior inconsistent statement or contradiction: … (2) conduct or

       statements made in compromise negotiations regarding the claim…

       (b) Permitted uses.-- … Examples of permissible purposes include

       proving a witness’s bias or prejudice; negating a contention of undue

       delay; and proving an effort to obstruct a criminal investigation or

       prosecution.”

 26. Rule 408 directly applies to evidence of conduct or statements made in

    compromise negotiations, “and this encompasses the whole of the

    settlement evidence.” Overseas Motors, Inc. v. Import Motors Ltd., Inc.,

    375 F.Supp. 499, 537 (D.C.Mich. 1974). In the matter at hand, the

    correspondence between counsel was related to the parties’ attempts to


                                     19
Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 20 of 22




    come to a compromise to avoid further litigation. It does not fall within the

    limited exceptions for permissible use.

 27. Only admissible evidence may be considered by the trial court in ruling on

    a motion for summary judgment. Jones v. Wilkinson, 800 F.2d 989, 1002

    (10th Cir.1986) (stating that “Fed.R.Civ.P. 56 ... requires that material

    supporting a motion for summary judgment be admissible

    evidence”); World of Sleep, Inc. v. Lay–Z–Boy Chair Co., 756 F.2d 1467,

    1474 (10th Cir.1985) (“Under Fed.R.Civ.P. 56(e), the court may consider

    only admissible evidence in ruling on a motion for summary judgment.”)

 28. Therefore, the Plaintiffs’ evidence regarding damages in its motion for

    summary judgement is inadmissible evidence. It is also the only evidence

    submitted in the Plaintiff’s motion in regards to damages. Not only does the

    Defendant dispute all facts regarding damages, there is no admissible

    evidence contained within the Plaintiff’s motion to support its assertion that

    there exist undisputed facts to support its claim of damages. For that reason,

    the motion for summary judgement fails because there is a material dispute

    of facts regarding an essential element of all of the Plaintiff’s claims.

    Finally, damages alone will not suffice without proof that Defendant

    engaged in some form of wrongdoing, and that Defendant’s wrongdoing

    was the proximate cause of Plaintiff’s damages.

 29. The Plaintiff’s final argument, that it has suffered damages, is a bare legal

    conclusion bereft of any evidentiary support. The Plaintiff claims it does


                                    20
        Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 21 of 22




            not have to state specific monetary damages in this statutory context,

            relying upon Lenz v. Universal Music Corp., 815 F.3d 1145, 1153-54 (9th

            Cir. 2016). But Lenz does not stand for the proposition that a Plaintiff can

            simply state that it “has been damaged,” as the Plaintiff does in its summary

            judgement motion. It still must show some evidence that it has been

            damaged, because as Lenz points out, a Plaintiff “may seek recovery of

            nominal damages due to an unquantifiable harm suffered as a result of [a

            Defendant’s] actions.” Id. at 1158. But it still must offer some undisputed

            evidence that it has suffered some type of damages.

         30. And, because there has been no material misrepresentation made by

            Defendant under 17 U.S.C. 512(f), nominal damages are not even available.

            Therefore, this argument that there is no material dispute regarding

            damages also fails because the Plaintiff has failed to show, in a light most

            favorable to the non-movant, that it suffered damages.

                                RELIEF REQUESTED


WHEREFORE, Defendant respectfully requests the Court DENY Plaintiff’s Motion for

Partial Summary Judgment.

                                                                  Respectfully Submitted,

                                                                   /s/ Rebecca Briggs
                                      Rebecca Briggs, #40626 (CO) & #91362 (VCC)
                                                        Attorney for Blushing Books
                                                The Law Office of Becky Briggs, LLC
                                                315 Colorado Ave, Pueblo, CO 81003
                                 Phone: (434) 989-0847          Fax: (970) 826-7050


                                          21
         Case 5:18-cv-00920-G Document 56 Filed 06/24/19 Page 22 of 22




                                                      E-mail: beckybriggslaw@gmail.com

                             CERTIFICATE OF SERVICE

I hereby certify that on this 24th day of June, 2019, I electronically transmitted the
attached document to the Court Clerk using the ECF System for filing. Based on the
records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
the following ECF registrants:

                                                                         /s/ Rebecca Briggs
Gideon A. Lincecum
Dylan D. Erwin

glincecum@holladaychilton.com derwin@holladychilton.com




                                             22
